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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                    )
                                             )
                         Plaintiff,          )       CRIMINAL ACTION
                                             )
v.                                           )       No.    04-40141-01, 02
                                             )
ARLAN DEAN KAUFMAN and                       )
LINDA JOYCE KAUFMAN,                         )
                                             )
                         Defendants.         )
                                             )

                              MEMORANDUM AND ORDER
        This case comes before the court on defendants’ joint motion to
dismiss the indictment or, alternatively, for recusal of prosecutors
based on their alleged knowledge of privileged material.                    (Doc. 130.)
Defendants incorporated a brief in their motion, the government filed
a response, and defendants’ filed a reply.                        (Docs. 162, 180.)
Defendants’ motion is DENIED for reasons set forth herein.
I.    BACKGROUND AND PROCEDURAL HISTORY
        Defendants are charged in a thirty-four count second superceding
indictment with, among other things, health care fraud, civil rights
violations, and subjecting victims to involuntary servitude, all in
violation of various provisions of Title 18 of the United States Code.
(Doc. 121.)      They claim that pursuant to search warrants executed on
June 13, 2001 (2001 search) and October 25, 2004 (2004 search), the
government seized documents and other items protected by the attorney-
client privilege or the work product doctrine.                    (Doc. 130 at 2-5.)
Defendants allege that members of the prosecution team have reviewed
those     documents,    thereby   violating        defendants’      Fifth    and   Sixth
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Amendment rights.        Id. at 6-7, 8.     Accordingly, they argue, the only
appropriate remedy is for the court to dismiss the indictment or, in
the alternative, to order recusal of all prosecutors who have reviewed
the privileged materials. Id. at 8.
     The government counters that its attorneys and law enforcement
personnel    have   adhered    to   the    highest      ethical       standards       while
reviewing seized documents.         (Doc. 162 at 3-4, 9.)              While conceding
that it has segregated some documents as being potentially privileged,
the government argues that no member of the prosecution team has
reviewed the contents of any potentially privileged documents.                        (Doc.
162 at 4-5, 6.)     Moreover, the government asserts that any privilege
has been waived. Id. at 1. Specifically, the government alleges that
the defense team was invited to review all potentially privileged
documents   in    the    government’s     possession       and   to    take     any    such
documents that defendants felt were in fact privileged.                    In response
to that invitation, one member of the defense team reviewed the
segregated documents, but failed to assert any privilege or otherwise
take possession of privileged documents.               Id. at 7-8.
     The    court’s      understanding     of    the   facts     has    been    rendered
difficult, primarily because defendants’ motion, while lengthy and
repetitious, lacks specificity regarding the documents which are
claimed to be privileged.           Defendants repeatedly refer to “some
documents,”      “some   materials,”      “certain     materials,”       and    “certain
documents,” leaving the court to speculate what the documents are and
how they are privileged.        None of the parties submitted any evidence




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with their briefs.1        Furthermore, no party requested an evidentiary
hearing on this matter.         Indeed, sensing that a hearing might be
necessary to provide an evidentiary basis to decide this motion, the
court twice invited the parties to request a hearing.                   (Docs. 196,
205.)     In fact, in its second letter to the parties on this matter,
the court expressly directed their attention to this motion and gave
an additional opportunity to request a hearing.               (Doc. 205.)     Despite
those     invitations,     neither   party     requested       such    a      hearing.
Accordingly, the court is left to sort out facts based on concessions
in the briefs.    Any other assertions that are contested, or otherwise
lack necessary evidentiary support, must be disregarded and the party
bearing the burden of proof on that point            will fail.
        As relevant here, the government executed three search warrants
on defendants’ property: the 2001 search of their residence; the 2004
search of their residence; and a search of defendants’ computer. The
computer was seized during the 2004 search, but was itself searched
pursuant to a warrant issued in January 2005.             (Doc. 162 at 6.)         The
government denies that any privileged material was seized in the 2001
search.     Id. at 4.      Conversely, the government concedes that some
potentially     privileged      materials     (apparently        letters      between
defendants and their counsel) were seized in the 2004 search, id., and
potentially privileged materials were also discovered on defendants’


     1
       In their reply, defendants did include copies of two letters
exchanged between Thomas Haney, counsel for defendant Arlan Kaufman,
and AUSA Tanya Treadway; however, these letters were exchanged after
the government filed its response. (Doc. 180 exhs. 1, 2.) Moreover,
these letters have nothing to do with the events surrounding the
search of defendants’ home or the government’s review, if any, of
privileged documents.

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computer.     Id. at 6.    However, a careful review of the government’s
brief shows that the United States never concedes that any of these
materials are in fact privileged.2
     With respect to the 2004 search, the parties agree that some
potentially privileged documents were segregated at the residence by
investigators and placed in a sealed box. (Docs. 162 at 4; 180 at 3.)
Defendants concede that no prosecutor has looked at those documents.
(Doc. 180 at 3.)      On the other hand, defendants assert that other
privileged documents remain unsegregated in the government’s general
evidence files.      (Docs. 130 at 4; 180 at 6.)                 The government
essentially denies any knowledge of those documents, alleging instead
that this motion represents the first time defendants have asserted
any claim of privilege to those documents.                  (Doc. 162 at 8-9.)
Conversely,    the   government   concedes     that,    in    addition      to   the
potentially privileged documents segregated during the 2004 search,
prosecutors Krigsten and Parker discovered additional potentially
privileged documents during their review of the seized items.                (Doc.
162 at 4-5.)      The government claims that “[w]hen a member of the
prosecution team came across a document that appeared as though it
might be privileged, the prosecutor or agent closed the box in which
the document was contained, and labeled the box.”              Id. at 5.
     Turning to the computer search, the government alleges this

     2
       Although defendants assert that items segregated from the 2004
search were placed in a box which the government labeled “Attorney-
Client Privileged Information” (Doc. 180 at 3), in their initial brief
defendants quoted the label on this material as reading “Potential
Attorney-Client (A-C).”    (Doc. 130 at 4.)    Since defendants have
repeatedly refused to put forth any evidence to support this motion,
it remains a mystery as to what label, if any, was ever attached to
these segregated items.

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search was performed by the Regional Forensics Computer Lab, which
reduced the contents of the computer’s hard drive to a CD.                          Id. at 6.
This disk was provided to a Department of Justice attorney who is not
associated with the prosecution team.                     Id. at 6.            That “taint
attorney” apparently created a DVD of the computer’s contents with
potentially privileged materials redacted.                     Id.     The taint attorney
also printed off hard copies of the potentially privileged material,
which have allegedly been turned over to defense counsel.                                  Id.
Nonetheless, defendants assert that prosecutors are now in possession
of unredacted copies of the DVD, thereby giving them unfettered access
to this potentially privileged information.                     (Doc. 130 at 7.)           The
government implicitly concedes possessing these unredacted DVDs, but
maintains    its   position    that    the       disk    includes       only   potentially
privileged    materials,      none    of   which        have    been    reviewed      by   the
prosecution team.     (Doc. 162 at 6.)
II.   ANALYSIS
      A.    REMEDIES SOUGHT BY DEFENDANTS
      Although these types of analyses usually begin by determining
whether defendants’ rights have been violated, the remedies requested
in this motion are so out of proportion with the conduct alleged that
it seems appropriate to address that disparity first.                      Defendants ask
the court to dismiss the indictment returned against them by a duly
constituted federal grand jury.3             Dismissal of an indictment is an

      3
      Defendants do not claim that any allegedly privileged materials
were presented to the grand jury. Moreover, with the exception of
Shillinger v. Haworth, defendants have failed to cite, much less
distinguish, the clearly applicable and easily-found Tenth Circuit
cases which discuss and reject dismissal of the indictment as an
appropriate remedy. This failure has impaired the court’s willingness

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extraordinary remedy, which the Supreme Court has characterized as
“drastic,” United States v. Morrison, 449 U.S. 361, 367, 101 S. Ct.
665, 669, 66 L. Ed. 2d 564 (1981), and the Tenth Circuit has described
as “draconian.”   United States v. Gonzalez, 248 F.3d 1201, 1205 (10th
Cir. 2001).    In tailoring relief for infractions of the attorney-
client privilege that amount to constitutional violations, the proper
approach is “to identify and then neutralize the taint by tailoring
relief appropriate in the circumstances to assure the defendant the
effective assistance of counsel and a fair trial.”                    Shillinger v.
Haworth, 70 F.3d 1132, 1143 (10th Cir. 1995) (quoting Morrison, 449
U.S. at 365, 101 S. Ct. at 668).
     Dismissing    an   indictment      without      considering      less    drastic
remedies is an abuse of discretion, United States v. Lin Lyn Trading,
Ltd., 149 F.3d 1112, 1118 (10th Cir. 1998).                The Tenth Circuit has
consistently affirmed where district courts have declined to impose
this ultimate sanction, even in circumstances far more egregious than
those alleged here.        See, e.g.,    United States v. Kennedy, 225 F.3d
1187, 1194-96 (10th Cir. 2000) (finding no Fifth or Sixth Amendment
violation where prosecution interviewed defendant’s former attorney,
both before and after indictment returned); United States v. Kingston,
971 F.2d   481,   491   (10th    Cir.    1992)    (finding     that   even    if   the
defendant’s Fifth and Sixth Amendment rights had been violated by
forcing his attorneys to testify before a grand jury, dismissal of the
indictment was not warranted).          By contrast, the circuit reversed in
the only federal prosecution in the Tenth Circuit the court could find


to accept the validity of defendants’ factual assertions and other
legal arguments.

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in which a district court granted a motion to dismiss an indictment
for Fifth and Sixth Amendment violations based on a breach of the
attorney-client privilege.          Lin Lyn, 149 F.3d at 1118.
      In Lin Lyn, the government intentionally seized a notepad from
the defendant, even though the defendant informed the agent that it
contained privileged communications between himself and his attorney.
Id. at 1113.     The incriminating statements and defense strategies
contained in the notebook were shared among government investigators
and became “common knowledge” in the relevant United States Customs
office. Id. at 1114-15. The district court dismissed the indictment,
finding both Fifth and Sixth Amendment violations.               Id. at 1115.      The
Tenth Circuit reversed as to the Sixth Amendment violation, id. at
1117, and, although it upheld the finding of a Fifth Amendment
violation, reversed and remanded for imposition of an appropriate
remedy.   Id. at 1118.       The circuit concluded that the proper remedy
was   suppression    of    the    tainted   evidence,    not    dismissal     of   the
indictment.    Id.
      The Tenth Circuit has almost categorically rejected dismissal of
the indictment as a proper remedy in federal prosecutions involving
breach of the attorney-client privilege. Shillinger is the exception,
but it involved a motion pursuant to 28 U.S.C. § 2254.                In that case,
the defendant was arrested and charged with aggravated assault and
battery in state court.          He was incarcerated and unable to make bail.
Defense counsel arranged to spend some time with the defendant doing
trial preparations in the court room.            Since the defendant was still
in custody, local authorities required that a deputy sheriff be
present with defendant during these preparatory sessions. Unbeknownst

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to defense counsel, the prosecutor questioned the deputy sheriff, who
then revealed the substance of the defendant’s trial preparations.
The prosecutor then modified his own trial strategy to take advantage
of this information, as well as to impeach the defendant. Shillinger,
70 F.3d at 1134-36.
        The jury convicted the defendant, and the state supreme court
affirmed.      The defendant then brought a petition for relief under 28
U.S.C. § 2254.          The district court granted the petition on the basis
of a Sixth Amendment violation and ordered a new trial, but stayed the
retrial pending appeal.            Id. at 1136.          The Tenth Circuit affirmed the
grant of habeas relief, but remanded for reconsideration of an
appropriate remedy.            Id. at 1143.       In so doing, the circuit indicated
that a new trial might be an appropriate remedy; however, because the
state      court        fact-finding         procedures         were      inadequate,         the
Shillinger court was unable to determine whether a new trial would
necessarily        be    enough       to    purge      the    taint     acquired       from   the
prosecutor’s       invasion       of       the   defense      camp.       Id.     at    1142-43.
Shillinger intimated that, depending on the severity of the taint,
more drastic remedies might be necessary.                       Id. at 1143.       Recusal of
the     prosecutor       might     be      one    such       option;    and,    “in      extreme
circumstances,” dismissal of the indictment might be appropriate. Id.
Accordingly, the circuit remanded for the district court to conduct
additional fact-finding and fashion an appropriate remedy.
        The court finds that Shillinger represents an extreme case of
prosecutorial misconduct, and is inapposite under even the most
liberal reading of the accusations in defendants’ briefs.                               There is
no    suggestion        that    the     government        purposely      seized    privileged

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materials         with    the      intent   of     using     them       in    support   of   the
prosecution’s case. Instead, it is uncontested that government agents
were executing facially valid search warrants that specifically
directed       them      to    seize    documents        from    defendants’        residence.4
Defendants simply object, without supporting case law, that the
procedures employed for the seizure of those documents and subsequent
handling       failed         to   afford   adequate        protection         to   potentially
privileged documents.               (Doc. 130 at 10-13.)             From that point, they
speculate that members of the prosecution team must have read the
contents of at least some privileged documents. (Docs. 130 at 13; 180
at 2-3.)       Even if proved, that is a far cry from the type of conduct
at issue in Shillinger.
        As   an    alternative         remedy,     defendants        seek     recusal   of   all
prosecutors who have read privileged material.                               Assuming that any
prosecutors were exposed to privileged material, the facts of this
case do not warrant such a remedy.                 Shillinger appears to be the only
Tenth Circuit case suggesting or even recognizing that recusal of
prosecutors might be an appropriate remedy for the conduct alleged
here.       Shillinger relied on United States v. Horn, 811 F. Supp. 739,
752 (D.N.H. 1992), for this proposition. Shillinger, 70 F.3d at 1143.
In Horn, as in Shillinger, the prosecutor engaged in extraordinary
misconduct         for    the      specific      purpose        of   obtaining      privileged
information.        The First Circuit’s summary of the prosecutor’s conduct
speaks for itself:


        4
       While defendants challenge the constitutionality of those
searches in two separate motions (Docs. 132, 134), defendants never
argue that the warrants were invalid on their face.

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         During pretrial proceedings, the government made
         more   than   10,000  documents    available   for
         inspection at the Boston office of Aspen Systems,
         an independent document management firm retained
         by the Task Force.     On November 9, 1992, an
         attorney representing defendants . . . visited
         the document repository to search for papers that
         might prove helpful in cross-examination.        A
         government paralegal volunteered to have a member
         of Aspen's clerical staff photocopy any document
         that caught the lawyer's eye.        The attorney
         accepted the offer. When the paralegal mentioned
         this undertaking to the lead prosecutor, she was
         instructed to have the Aspen employee make an
         extra copy of each defense-selected document for
         the government's edification.     Defense counsel
         was not informed of this added flourish.
              To paraphrase the Scottish poet, the
         best-laid schemes of mice and prosecutors often
         go awry. Cf. Robert Burns, To a Mouse (1785).
         When the photocopying of desired documents took
         longer than seemed reasonable, the defense
         attorney smelled a rat. A cursory investigation
         uncovered    the  prosecution's    experiment   in
         duplicitous duplication.     The lawyer promptly
         demanded that the government return its copies of
         the papers culled by the defense.        When his
         demand fell on deaf ears, he immediately drafted
         a motion to seal, filed the motion with the
         district court, and served it before the close of
         business that day.
              At   this   delicate   juncture,   the   lead
         prosecutor poured kerosene on a raging fire. She
         did not passively await the court's ruling on the
         motion, but, instead, during the three days that
         elapsed before the district court took up the
         motion,     the    prosecutor     reviewed     the
         surreptitiously duplicated documents, discussed
         them with two of her subalterns, and used them to
         prepare a key prosecution witness (in the
         presence of a second possible witness). Thus, by
         November 13, 1992, when the court granted the
         motion to seal and explicitly instructed the lead
         prosecutor not to make further use of the papers
         singled out by the defense or take further
         advantage of the situation, appreciable damage
         already had been done.
              The lead prosecutor then made a bad
         situation   worse.      Two   pages   mysteriously
         disappeared from the lead prosecutor's cache of
         ill-gotten documents before the set was submitted
         to the district court for sealing. And in direct
         defiance of the court's order, the lead

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           prosecutor prepared a complete new set for her
           own use.    Adding insult to injury, she next
           signed an affidavit of somewhat questionable
           veracity. Finally, when she appeared before the
           district court to discuss the bizarre game she
           had been playing, she made a series of
           inconsistent statements evincing what the court
           charitably called a “lack of candor.”
United States v. Horn, 29 F.3d 754, 757-58 (1st Cir. 1994).                              The
district court concluded that this prosecutorial misconduct amounted
to a violation of the defendants’ Fifth and Sixth Amendment rights.
Id. at 758. The district court also found prejudice, “but not a stain
so indelible as to justify dismissing the indictment.” Id. at 758-59.
Thus, despite conduct that the First Circuit rightly characterized as
“egregious”, id. at 770, the district court found no basis for
dismissing the indictment.            Instead, the district court imposed a
combination    of    remedies,     which       included      recusal       of   the    lead
prosecutor,    as    well    as   her     referral      to       various    disciplinary
authorities.      Id. at 759.         On appeal, the First Circuit approved
whole-heartedly of the specified remedies, reversing only on an award
of attorneys’ fees and costs against the government, which the court
of appeals found barred by sovereign immunity.                    Id. at 770.         Even a
casual reading of defendants’ briefs shows that the allegations, if
proved,   would     rise    nowhere     near    the   level       of   culpability       and
misconduct addressed in Horn.
     In sum, even assuming that defendants could prove what they
allege in their briefs (and their failure to request an evidentiary
hearing raises the inference that they cannot), the circumstances of
this case do not even begin to rise to the level of severity necessary
to support dismissal of the indictment or recusal of the prosecutors.


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Unlike the cases previously discussed, the government has made no
effort to purposely invade the defense camp.                  Rather, government
agents simply executed facially valid search warrants and seized a
large number of documents.          Even if some of those documents were
privileged, and even if the prosecutors had read some of them, neither
the “draconian” remedy of dismissal, nor the slightly less drastic
remedy of recusing the prosecutors, would be appropriate under the
facts of this case.       Since that is the only relief that defendants
request, this motion could be denied on that basis alone.
      B.     BREACH OF THE ATTORNEY-CLIENT RELATIONSHIP
      Under Federal Rule of Evidence 501, privileges in a federal
criminal case are governed by federal common law.                United States v.
Gillock, 445 U.S. 360, 368, 100 S. Ct. 1185, 1191 (1980).                Under that
law, the attorney client privilege has the following elements:
             (1) Where legal advice of any kind is sought (2)
             from a professional legal adviser in his capacity
             as such, (3) the communications relating to that
             purpose, (4) made in confidence (5) by the
             client, (6) are at his instance permanently
             protected (7) from disclosure by himself or by
             the legal adviser, (8) except the protection be
             waived.
United States v. Kovel, 296 F.2d 918, 921 (2d Cir. 1961) (quoting 8
Wigmore, Evidence, § 2292); see also United States v. Ruedlinger, 1997
WL 161960, *2-3 (D. Kan. Mar. 7, 1997). Similarly, in order to invoke
the   work    product   doctrine,   the   proponent      must   prove    “that   the
materials sought to be protected (1) are documents or tangible things,
(2) were prepared in anticipation of litigation or for trial, and (3)
were prepared by or for a party or a representative of that party.”
Raytheon Aircraft Co. v. U.S. Army Corps of Engineers, 183 F. Supp.


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2d   1280,       1287-88     (D.     Kan.   2001).       “The     burden   of   proving     a
communication        is    privileged       is    upon      the   person   asserting      the
privilege.”        United States v. Bump, 605 F.2d 548, 551 (10th Cir.
1979).
       Defendants put forth no proof that the government seized any
privileged documents.              As previously noted, the government is fairly
candid in admitting that it seized potentially privileged documents
in the various searches.                 Nonetheless, none of the government’s
statements go so far as to relieve defendants of their burden to prove
that       any   documents    are      privileged      in    fact.     Despite       repeated
opportunities afforded by the court, defendants have declined the
invitation to put on evidence time and time, again.5 Accordingly, the
court finds that defendants have failed to meet their burden to prove
that the government seized any privileged documents.                             Having so
concluded, there is no need to reach the issues of whether any
violation of defendants’ Fifth or Sixth Amendment rights occurred.
       Finally, the government argues that any privilege defendants
might assert to the disputed documents has been waived.                      (Doc. 162 at


       5
       In a footnote to their brief, defendants state that the court
is free to conduct an in camera inspection of the disputed documents.
(Doc. 130 at 5 n.1.)     The court declines that invitation.     While
defendants specifically address only three documents in their brief,
the surrounding narrative makes clear that they consider that numerous
other documents are privileged.       Id. at 5-6.      In particular,
defendants state    that “at least ten documents prepared by Dr.
Kaufman” are at issue; however, they go on to state that “[a]dditional
documents contain numerous attorney-client matters.” Id. at 4-5. The
government asserts that potentially privileged materials are contained
in “five boxes and one sack,” as well as in a number of envelopes.
(Doc. 162 at 7.) The court will not enter into an open-ended review
of an unspecified number of documents, combing through them in an
attempt to determine whether they contain any privileged material.
That is the job of defendants and their counsel.

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18-21.)   Since defendants failed to meet their burden to prove that
any documents were privileged in the first instance, and also failed
to meet their burden to show that any privilege has not otherwise been
waived,   Bump,   605   F.2d   at   551;   Kovel,     296     F.2d   at    921,   final
disposition of these documents has become a real issue.                   Although the
government may have a meritorious claim to the disputed documents, the
court will not decide the waiver issue.             Even if it found a waiver,
the court would not “poison the well” by authorizing the government
to review any potentially privileged materials in this case.                         If
defendants are convicted, the government’s use of materials that might
have been privileged would almost certainly yield a petition for
relief under 28 U.S.C. § 2255 based on ineffective assistance of
counsel surrounding the waiver issue.           The court has no desire to try
this case twice, and neither should the government. If, as it claims,
the government has such a compelling case against these defendants,
the prosecutors should know better than to jeopardize it by seeking
to review potentially privileged material.             (Doc. 162 at 19 n.33.)
     In an effort to determine whether there is a need to
investigate whether some lesser sanction would be appropriate and,
if so, what the sanction should be, Lin Lyn, 149 F.2d at 1118, the
court orders that the parties proceed as follows:
     1.   On or before September 2, 2005, the government shall grant
defendants one more opportunity to review the evidence previously
mentioned in search of privileged material.
     2.   Defendants shall take possession of any material that they
honestly and ethically believe is protected by the attorney-client
privilege or the work product doctrine.

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     3.   On or before September 9, 2005, defendants shall complete
a privilege log, in a format similar to that specified in Federal
Rule of Civil Procedure 26(b)(5), describing each document to which
they lay a claim of privilege.      The log shall be in sufficient
detail to afford meaningful review without compromising the
privileged information allegedly contained therein.
     4.   Defendants shall then immediately file the allegedly
privileged documents under seal with the Clerk of the Court.
Defendants shall also immediately provide copies of the privilege
log to the government and the court.
     5.   On or before September 16, 2005, the government shall
identify any document noted in the privilege log which it believes
is not privileged, which the government asserts will be admissible
at trial, and the basis for admissibility (including relevance).
If the court believes there is any merit to the government’s
position, it will schedule a conference.          If no conference is
scheduled, the parties may consider that the court has determined
that the interests of justice will not be served by a further
expenditure of time on the subject of privileged documents.
     6.   All parties shall cooperate to see that defendants have an
opportunity to review the government’s evidence in time to meet the
aforesaid deadlines.
     7.   The attorney-client and work product privileges will be
deemed waived as to any materials not identified and handled in
accordance with this order, including meeting the deadlines
specified herein.



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   IT IS SO ORDERED.
   Dated this      25th      day of August 2005, at Wichita, Kansas.


                                         s/ Monti Belot
                                         Monti L. Belot
                                         UNITED STATES DISTRICT JUDGE




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